                      Case: 1:15-cr-00399 Document #: 476 Filed: 12/21/18 Page 1 of 11 PageID #:6218



                                      UNITED STATES DISTRICT COURT
                                                                  Northern District of Illinois


                    UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                               v.

                           VINCE MANGLARDI                                                 Number:
                                                                                        Case                     1   :15-CR-00399(1)

                                                                                        USM Number:              48042-424



                                                                                        Ralph E. Mecryk
                                                                                        Defendant's Attomey


THE DEFENDANT:
I        pleaded guilty to count   I of the Indictment.
E       pleaded nolo contendere to count(s)               which was accepted by the court.
E       was found guilty on   count(s)         after a plea of not guilty.

The defendant is adjudicated guilty ofthese offenses:
    Title & Section / Nature of Offense                                                                       Offense Ended            Count
    |   8:1343.F Fraud By Wire, Radio, Or Television                                                          t2t3U2009                 I




The defendant is sentenced as provided in pages 2             through        ofthis judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

E       The defendant has been found not guilty on count(s)

ECount(s)2,3,4,5,6,8,9,              10,  ll,l2,13,14, 15, 16, 17,18, lg,20,and23aredismissedonthemotionoftheUnitedStates.                  The
        forfeiture allegation is dismissed by the government.
It is ordered that the defendant must notifu the United States Attorney for this District within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notifr the court and United States Attorney of material changes in economic circumstances.


                                                                                             December 20,2018
                                                                                             Date of Imposition of Judgment



                                                                                             Signature ofJudge
                                                                                             Manish S. Shah, United States District Judge

                                                                                             Name and Title of Judge


                                                                                             Dmqmhen           zt.      >ota
                                                                                             Date
                    Case: 1:15-cr-00399
ILND 2458 (Rev. 03129/2018) Judgment in
                                             Document #: 476 Filed: 12/21/18 Page 2 of 11 PageID #:6219
                                  a Criminal Case
      - Imnri
Sheet 2

DEFENDANT: VINCE MANGLARDI
CASENUMBER: 1:15-CR-00399(l )
                                                                IMPRISOI\MENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
24 months as to Count I of the Indictment. The costs of incarceration are waived.

The Probation Office has leave of court to upload any of Defendant Manglardi's medical records in its possession to the Bureau of Prisons
portal, with no objection.

tr        The court makes the following recommendations to the Bureau of Prisons:

tr        The defendant is remanded to the custody of the United States Marshal.

tr        The defendant shall surrender to the United States Marshal for this district:

          tr
     tr        as   notified by the United States Marshal.

     a         The defendant shall surrender for service ofsentence at the institution designated by the Bureau ofPrisons:

          E          before2:00pmonJune          6,2}lg.
          tr         as   notified by the United States Marshal.

          tr         as   notified by the Probation or Pretrial Services Office.




                                                                      RETURN

I have executed this judgment as follows:




Defendant delivered on                      to                                al                               , with a certified copy of this
judgment.




                                                                                        LTNITED STATES MARSHAL



                                                                                   By
                                                                                        DEPUTY UNITED STATES MARSHAL
                          Case: 1:15-cr-00399
ILND 2458 (Rev. 3/2912018) Judgment in
                                                   Document #: 476 Filed: 12/21/18 Page 3 of 11 PageID #:6220
                                       a Criminal Case
    -
Sheet 3       Supervised Release                                                                                                 Judgment-Page3ofll
DEFENDANT: VINCE MANGLARDI
CASE NUMBER: I :15-CR-00399(l)

              MANDATORY CONDITIONS OF SUPERVTSED RELEASE PURSUANT TO                                                      18 U.S.C g 3sS3(d)

Upon release from imprisonment: you shall be on supervised release for a term of:
                                             'The
three (3) years,on Courii-t of *e Gdictment-      costs of $&ervision erc \ryehred.

         You must report to the probation oflice in the district to which you are released withinT2 hours of release from the custody of the
Bureau of Prisons. The court imposes those conditions identified by checkmarks below:



During the period ofsupervised release:
 E        (   l)   you shall not commit another Federal, State, or local crime.
 X        (2) you shall not unlawfully possess a controlled substance.
 tr       (3) you shall attend a public, private, or private nonprofit offender rehabilitation  program that has been approved by the court,      if
                   an approved program is readily available within a 50-mile radius of your legal residence. [Use for a first conviction of a
                   domestic violence crime, as defined in $ 3561(b).1
 tr       (4) you shall register and comply with all requirements of the Sex Offender Registration and Notification Act (42 U.S.C.           S
                   16e13).
 X        (5) you shall cooperate in the collection of a DNA sample if the collection of such a sample is required by law.
 tr       (6) you shall refrain from any unlawful use of a controlled substance AND submit to one drug test within l5 days of release on
              supervised release and at least two periodic tests thereafter, up to 104 periodic tests for use ofa controlled substance during
                   each year ofsupervised release. [This mandatory condition may be ameliorated or suspended by the court for any defendant
                   if reliable sentencing information indicates a low risk of future substance abuse by the defendant.]

 DISCRETIONARY CONDITIONS OF SUPERVTSED RELEASE PURSUANT TO 18 U.S.C g 3s63(b) AND
                                                                       18 U.S.C S 3s83(d)

Discretionary Conditions        The court orders that you abide by the following conditions during the term of supervised release because such
                             -
conditions are reasonably related  to the factors set forth in $ 3553(aXl) and (aX2XB). (C). and (D): such conditions involve only such
deprivations of liberty or property as are reasonably necessary for the purposes indicated in $ 3553 (aX2) (B). (C). and (D): and such
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S.C. 994a.
The court imposes those conditions identified by checkmarks below:



During the period of supervised release:
 tr       (l)         you shall provide financial support to any dependents iffinancially able.
 tr       Q)          you shall make restitution to a victim of the offense under $ 3556 (but not subject to the limitation of 3663(a) or
                                                                                                                              $
                      g   3663A(cXlXA)).
 tr       (3)        you shall give to the victims of the offense notice pursuant to the provisions of $ 3555, as follows: .ffii;
 tr       @)         you shall seek, and work conscientiously at, lawful employment or pursue conscientiously a course of study or
                     vocational training that will equip you for employment.
 A (5)               you shall refrain from engaging in a specified occupation, business, or profession bearing a reasonably direct relationship
                     to the conduct constituting the offense, or engage in such a specified occupation, business, or profession only to a stated

                     'i,,.
                     .4..-g.,199.ol
                                    under stated circumstances; (if checked yes, please indicate restriction(s)) real esg1$$svelqggq$r'rna@€r a{a

 A (6)               Vou it iif ieftiin tom-tnowingly meeting or communicating with any person whom you know to be engaged, or
                     planning to be engaged, in criminal activity,and from:
                      tr     visiting the following rype of places: il ti '.
                      I      knowingly meeting or communicating with the following persons:
 A Q)                you shall refrain from   E   any or   I   excessive use ofalcohol (defined as having a blood alcohol concentration greater
                     than 0.08); or   E      , or any use of a narcotic drug or other controlled substance, as defined in $ 102 of the Controlled
                     Substances Act (21 U.S.C. S 802), without a prescription by a licensed medical practitioner.
 X (8)               you shall refrain from possessing a firearm, destructive device, or other dangerous weapon.
 tr (9)              tr    you shall participate, at the direction of a probation officer, in a substance abuse treatment program, which may
                           include urine testing up to a maximum of 104 tests per year.
                      Case: 1:15-cr-00399
ILND 2458 (Rev. 312912018) Judgment in
                                               Document #: 476 Filed: 12/21/18 Page 4 of 11 PageID #:6221
                                   a Criminal Case
    -
Sheet 3   Supervised Release                                                                                                     Judgment-Page4ofll
DEFENDANT: VINCE MANGLARDI
CASE NUMBER: I :15-CR-00399(l)
                    tr   you shall participate, at the direction of a probation officer, in a mental health treatment program, which may include
                         the use of prescription  medications.                                                                             il ri. i,
                    tr   you shall participate, at the direction of a probation officer, in medical care; (if checked yes, please specifo:
                                                                                                                                                 -
                                                                                                                                                     )
 tl       (10)      (intermittent confinement): you,,shall remain in the custody of the Bureau of Prisons during nights, weekends, or other
                    intervals of time,  totaling       ., [no more than the lesser of one year or the term of imprisonment authorized for the
                    offense], during the first year ofthe term ofsupervised release (provided, however, that a condition set forth in $
                    3563(bxl0) shall be imposed only for a violation of a condition of supervised release in accordance with g 3583(e)(2)
                    and only when facilities are available) for the following   period          .

 tr       (II   )   (community confinement): you shall reside at, or participate in the program of a community corrections facility
                    (including a facility maj-lt1 ined or under contract to the Bureau of Prisons) for all or part of the term of supervised
                    release, for a period of "':;:=:=' months.
 tr 02)                                            for
                    you shall work in community service                '' hours as directed by a probation officer.

 tr (13)  you  shall reside in the following place  or area'. ,t ' , o. refrain from residing in a specified place or area: l,          -


 A (14) you shall remain within the jurisdiction where you are being supervised, unless granted permission to leave by the court
          or a probation officer.
 E  ( l5) you  shall report to a probation officer as directed by the court or a probation officer.
 E ( 16) E you shall permit a probation officer to visit you E at any reasonable time or E as specified: ,
                             El   at home              E   at work                 fl   at school              EI at a community service location
                           E other reasonable location specified by a probation offrcer
                    E      you shall permit confiscation ofany contraband observed in plain view ofthe probation officer.
 A (17)             you shall notifu a probation officer promptly, within 72 hours, of any change in residence, employer, or workplace and,
                    absent constitutional or other legal privilege, answer inquiries by a probation officer.
 E (18)             you shall notifo a probation officer promptly, within 72 hours, if arrested or questioned by a law enforcement officer.
 tr ( l9)           (home confinement): you shall remain at your place of residence for a total     of         months during nonworking hours.
                    [This condition may be imposed only as an alternative to incarceration.]
                    tr       Compliance with this condition shall be monitored by telephonic or electronic signaling devices (the selection of
                             which shall be determined by a probation officer). Electronic monitoring shall ordinarily be used in connection
                             with home detention as it provides continuous monitoring of your whereabouts. Voice identification may be used
                             in lieu of electronic monitoring to monitor home confinement and provides for random monitoring of your
                             whereabouts. If the offender is unable to wear an electronic monitoring device due to health or medical reasons, it
                             is recommended that home confinement with voice identification be ordered, which will provide for random
                             checks on your whereabouts. Home detention with electronic monitoring or voice identification is not deemed
                             appropriate and cannot be effectively administered in cases in which the offender has no bona fide residence, has a
                             history of violent behavior, serious mental health problems, or substance abuse; has pending criminal charges
                             elsewhere; requires frequent travel inside or outside the district; or is required to work more than 60 hours per
                             week.
                    tr       You shall pay the cost of electronic monitoring or voice identification at the daily contractual rate, if you are
                             financially able to do so.
                    tl The Court waives the electronic/location monitoring component of this condition.
 tr       Q0)       you shall comply with the terms of any court order or order of an administrative process pursuant to the law of a State,
                    the District of Columbia, or any other possession or territory of the United States, requiring payments by you for the
                    support and maintenance of a child or of a child and the parent with whom the child is living.
 tr       Ql)       (deportation): you shall be surrendered to a duly authorized official of the Homeland Security Department for a
                    determination on the issue of deportability by the appropriate authority in accordance with the laws under the
                    Immigration and Nationality Act and the established implementing regulations. If ordered deported, you shall not
                    reenter the United States without obtaining, in advance, the express written consent of the Attorney General or the
                    Secretary of the Department of Homeland Security.
 E Q2)              you shall satisfu such other special conditions as ordered below.
 tr Q3)             (if required to register under the Sex Offender Registration and Notification Act) you shall submit at any time, with or
                    without a warrant, to a search ofyourperson and any properry, house, residence, vehicle, papers, computer, other
                    electronic communication or data storage devices or media, and effects, by any law enforcement or probation officer
                    having reasonable suspicion concerning a violation of a condition of supervised release or unlawful conduct by you, and
                    by any probation officer in the lawful discharge ofthe officer's supervision functions (see special conditions section).
 tr Q4)             Other:
                          Case: 1:15-cr-00399
ILND 245B (Rev. 3i29l2018) Judgment in
                                                   Document #: 476 Filed: 12/21/18 Page 5 of 11 PageID #:6222
                                       a Criminal Case
Sheet 3   -   Supervised Release                                                                                               Judgment-Page5ofll
DEFENDANT: VINCE MANGLARDI
CASE NUMBER: I : 15-CR-00399( 1)

SPECIAL CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C.3563(bX22) and 3583(d)
The court imposes those conditions identified by checkmarks below:



During the term ofsupervised release:
 tr ( l) if you have not obtained a high school diploma or equivalent, you shall participate in               a General Educational
                     Development (GED) preparation course and seek to obtain a GED within the first year of supervision.
 trQ)                you shall participate in an approved job skill-training program at the direction of a probation officer within the first 60
                      days of placement on supervision.
 tr (3)              you shall, if unemployed after the first 60 days of supervision, or if unemployed for 60 days after termination or lay-off
                     ffom employment, perform at least 20 hours of community service per week at the direction of the U.S. Probation Office
                     until gainfully employed. The amount of community service shall not exceed r"i$$ hours.
 tr@)                you shall not maintain employment where you have access to other individual's personal information, including, but not
                     limited to, Social Security numbers and credit card numbers (or money) unless approved by a probation officer.
 x        (s)        you shall not incur new credit charges or open additional lines of credit without the approval of a probation officer unless
                     you are in compliance with the financial obligations imposed by this judgment.
 a        (6)        you shall provide a probation officer with access to any requested financial information necessary to monitor compliance
                     with conditions of supervised release.
 trQ)                you shall notifu the court of any material change in your economic circumstances that might affect your ability to pay
                     restitution, fines, or special assessments.
 a        (8)        you shall provide documentation to the IRS and pay taxes as required by law.
 tr       (e)        you shall participate in a sex offender treatment program. The specific program and provider will be determined by a
                     probation officer. You shall comply with all recommended treatment which may include psychological and physiological
                     testing. You shall maintain use of all prescribed medications.
                     tr      You shall comply with the requirements of the Computer and Internet Monitoring Program as administered by the
                             United States Probation Office. You shall consent to the installation of computer monitoring software on all
                             identified computers to which you have access. The software may restrict and/or record any and all activity on the
                             computer, including the capture of keystrokes, application information, Internet use history, email
                             correspondence, and chat conversations. A notice will be placed on the computer at the time of installation to
                             warn others of the existence of the monitoring software. You shall not remove, tamper with, reverse engineer, or
                             in any way circumvent the software.
                     tr      The cost of the monitoring shall be paid by you at the monthly contractual rate, if you are financially able, subject
                             to satisfaction of other financial obligations imposed by this judgment.
                     tl      You shall not possess or use any device with access to any online computer service at any location (including
                             place of employment) without the prior approval of a probation officer. This includes any Internet service
                             provider, bulletin board system, or any other public or private network or email system.
                     tr      You shall not possess any device that could be used for covert photography without the prior approval ofa
                             probation officer.
                     tr      You shall not view or possess child pornography. If the treatment provider determines that exposure to other
                             sexually stimulating material may be detrimental to the treatment process, or that additional conditions are likely
                             to assist the treatment process, such proposed conditions shall be promptly presented to the court, for a
                             determination, pursuant to l8 U.S.C. S 3583(eX2), regarding whether to enlarge or otherwise modi! the
                             conditions of supervision to include conditions consistent with the recommendations of the treatment provider.
                     tr      You shall not, without the approval of a probation officer and treatment provider, engage in activities that will put
                             you in unsupervised private contact with any person under the age of 18, or visit locations where children
                             regularly congregate (e.g., locations specified inthe Sex-O,ffender Registration and Notification Act.)
                     tr      This condition does not apply to your family   members: '" gNames]
                     tr      Your employment shall be restricted to the district and division where you reside or are supervised, unless
                             approval is granted by a probation officer. Prior to accepting any form ofemploymentyou shall seek the approval
                             ofa probation officer, in order to allow the probation officer the opportunity to assess the level ofrisk to the
                             community you will pose if employed in a particular capacity. You shall not participate in any volunteer activity
                             that may cause you to come into direct contact with children except under circumstances approved in advance by
                             a probation officer and treatment provider.
                     tr      You shall provide the probation officer with copies of your telephone bills, all credit card statements/receipts, and
                             any other financial information requested.
ILND 2458 (Rev.
                        Case: 1:15-cr-00399 Document #: 476 Filed: 12/21/18 Page 6 of 11 PageID #:6223
                      3/291201 8) Judgment in a Criminal Case
    -
Sheet 3       Supervised Release                                                                                                Judgment-Page6ofll
DEFENDANT: VINCE MANGLARDI
CASE NUMBER: I :15-CR-00399(l)
                       tr       You shall comply with all state and local laws pertaining to convicted sex offenders, including such laws that
                               impose restrictions beyond those set forth in this order.
 A        (   l0)      you shall pay any financial penalty that is imposed by this judgment that remains unpaid at the commencement of the
                       term of supervised release. Your monthly payment schedule shall be an amount that is at least I 0% of your net monthly
                       income, defined as income net of reasonable expenses for basic necessities such as food, shelter, utilities, insurance, and
                       employment-related expenses.
 E        (l   I   )   you shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the
                       permission of the court.
 tr       02)          you shall pay to the Clerk of the Court  $        as repayment to the United States government funds you received during
                       the investigation of this offense. (The Clerk of the Court shall remit the fundsto        (include Agency and Address).
 tr       (   l3)      if the probation officer determines that you pose a risk to another person (including an organization or members of the
                       community), the probation officer may require you to tell the person about the risk, and you must comply with that
                       instruction. Such notification could include advising the person about your record ofarrests and convictions and
                       substance use. The probation officer may contact the person and confirm that you have told the person about the risk.
 tr (14)               other:
                      Case: 1:15-cr-00399
ILND 2458 (Rev. 03/2912018) Judgment in
                                               Document #: 476 Filed: 12/21/18 Page 7 of 11 PageID #:6224
                                    a Criminal Case
Sheet 6 - Schedule of  Payments                                                                      Judgment - Page 7 of I I
DEFENDANT: VINCE MANGLARDI
CASE NUMBER: I :15-CR-00399(l)
                                                CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                  Assessment       JVTA Assessment*                           Fine                   Restitution
 TOTALS                                                s 100.00                    $.00                        $.00               sl4.614.302.97



 tr     The determination of restitution is deferred      until       . An Amended Judgment in a Criminal Case 1lo zlscl wlll be entered after such
        determination.
 A      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
        otherwise in the priority order or percentage payment column below. However, pursuant to l8 U.S.C. S 3664(D, all nonfederal
        victims must be paid before the United States is paid.

      Restitution of    $   14,614,302.97, jointly and severally with co-defendant Theodore J Wojtas Jr. (l :15-cr-00399-2), to



          AMERICAN UNITED MORTGAGE
          RESTITUTION ADMIN/LEGAL DIVISION
          IO42I WATERIDGE CIRCLE
          SUITE 250
          SAN DIEGO,CA92l2I
          $r02,460.00


          AMERICAN MORTGAGE NETWORK, INC.
          RESTITUTION ADMIN/LEGAL DIVISO
          IO42I WATERIDGE CIRCLE, SUITE 250
          SAN DIEGO,CA92I2I
          s   r   s2,940.00


          BANK OF AMERICA
          DONNA MCLAUCHLIN
          4I6I PIEDMONT PARKWAY, NC4-I05
          GREENSBORO, NC 274I0
          $   1,017,680.97



          BANK OF AMERICA, C/O COUNTRYWIDE BANK
          DONNA MCLAUCHLIN
          4I6I PIEDMONT PARKWAY, NC4-I05
          GREENSBORO, NC 274I0
          $2,194,060.00


          CHICAGO BANCORP INC.
          RESTITUTION ADMIN/LEGAL DIVISON
          3OO      N ELIZABETH       ST.
          CHICAGO, IL 60607
          $78.210.00
                 Case: 1:15-cr-00399
ILND 2458 (Rev. 03/2912018) Judgment in   Document #: 476 Filed: 12/21/18 Page 8 of 11 PageID #:6225
                               a Criminal Case
      - Schedule of Payments
Sheet 6                                                                                        Judgment- Page 8 of 1 I
DEFENDANT: VINCE MANGLARDI
CASE NUMBER: I :15-CR-00399(1)

          CITI MORTGAGE
          FRAUD PREVENTION & INVEST, MANAGER
          IOOO TECHNOLOGY DRIVE, MS 367
          O'FALLON, MO 63368
          s609,540.00


          CITIGROUP C/O ABN AMRO MORTGAGE GROUP
          FRAUD PREVENTION & INVEST. MANAGER
          IOOO TECHNOLOGY DRIVE, MS 367
          O'FALLON, MO 63368
          s 101,460.00



          FEDERAL NATIONAL MORTGAGE ASSOCIATION (FANNIE MAE)
          ACCOLTNTS RECEIVABLE
          14221DALLAS PARKWAY, SUITE      IO
          DALLAS, TX75254
          $664,r 15.00


          FEDERAL NATIONAL MORTGAGE CORP (FREDDIE MAC)
          RESTITUTION ADMIN/LEGAL DIVISO
          82OO JONES BRANCH DRIVE, MS 20
          MCLEAN, YA22IO2
          $1,123,295.00



          FIFTH THIRD MORTGAGE COMP.
          RESTITUTION ADMIN/LEGAL DIVISO
          5O5O KINGSLEY DR.
          CINCINNATI, OH 45263
          $765,060.00



          FLAGSTAR BANK
          RESTITUTION ADMIN/LEGAL DIVISON
          5I5I CORPORATE DRIVE
          TROY, MI48098
          s924,000.00


          INLAND BANK AND TRUST
          RESTITUTION ADM IN/LEGAL DIVISON
          2805 BUTTERFIELD RD.
          OAK BROOK, IL 60523
          $64,769.00


          JP MORGAN CHASE          BANK
          RESTITUTION ADMIN/LEGAL DIVISON
          IOI5I DEARWOOD PARK BOULEVARD,
          JACKSONVILLE,FL 32256
          $93,800.00
                    Case: 1:15-cr-00399 Document #: 476 Filed: 12/21/18 Page 9 of 11 PageID #:6226
ILND 2458 (Rev.0312912018) Judgment in   a   Criminal Case
Sheet 6 - Schedule of Payments                                                                                                 Judgment-Page9ofll
DEFENDANT: VINCE MANGLARDI
CASE NUMBER: I : l5-CR-00399(I)

           PNC BANK, C/ONATIONAL CITY MORTGAGE
           RESTITUTION ADMIN/LEGAL DIVISON
           3OO FIFTH AVENUE
           PITTSBURGH,PA 15222
           $   1,650,462.00



           SUNTRUST MORTGAGE,INC
           RESTITUTION ADMIN/LEGAL DIVISON
           7 ST. PAUL ST., SUITE I660
           BALTIMORE,MD 21202
           s386,930.00


           WELLS FARGO BANK
           RESTITUTION ADMIN/LEGAL DIVISO
           ITOO LINCOLN STREET,9TH FLOOR
           DENVER, CO 80203
           $3,982,530.00



           WELLS FARGO BANK, C/O WACHOVIA MORTGAGE
           RESTITUTION ADMIN/LEGAL DIVISON
           ITOO   LINCOLN ST.,9TH FLOOR
           DENVER, CO 80203
           $645,131.00



           WELLS FARGO BANK C/O AMERICAN SAVINGS
           RESTITUTION ADMTN/LEGAL DIVISON
           ITOO LINCOLN STREET,9TH FLOOR
           DENVER, CO 80203
           $s7,860.00



      tr           Restitution amount ordered pursuant to plea agreement $

      tr           The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
                   before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. S 3612(0. All of the payment options on Sheet
                   6 may be subject to penalties for delinquency and default, pursuant to l8 U.S.C. $ 3612(g).
      X            The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                   E              the interest requirement is waived for the restitution.

                   tr             the interest requirement for the        is modified as follows:

     tr            The defendant's non-exempt assets, if any, are subject to immediate execution to satisfu any outstanding restitution or fine
                   obligations.

     x Justice for Victims of Trafficking Act of 2015, Pub. L. No. I l4-22.
     * Findings for the total amount of losses are required under Chapters I 09A, I 10, I     l0A, and I l3A of Title   18 for offenses committed
     on or after September 13, 1994, but before April 23, 1996.
                 Case: 1:15-cr-00399 Document #: 476 Filed: 12/21/18 Page 10 of 11 PageID #:6227
ILND 2458 (Rev. 03/2912018) Judgment in a Criminal Case
Sheet6-ScheduleofPayments                                                                   Judgment-Page l0ofll
DEFENDANT: VINCE MANGLARDI
CASE NUMBER: I :15-CR-00399(l)
                                                          SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:


A         A       Lump sum payment of $14,614,402.97 due immediately.

                  tr          balance due not later   than       , or

                  A           balance due in accordance with El C,      E D, EI E, or E        F below; or



B         tr      Payment to begin immediately (may be combined with              E   C,   E   D, or   E F below);or

C         tr      Payment in    equal         (e.g. weekly, monthly, quarterly) installments of          $      over a period   of   (e.g., months or   years),to
                  commence                                              of this judgment; or
                                       (e.g., 30 or 60 days) after the date


D         tr      Payment in    equal         (e.g. weekly, monthly, quarterly) installments of          $ over a period        of   (e.g., months   oryears),to
                  commence             (e.g., 30 or 60 days) after release   from imprisonment to a term of supervision; or

E         tr      Payment during the term of supervised release will commence              within
                                                                                             (e.g., 30 or 60 days) after release from imprisonment.
                  The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F         E       Special instructions regarding the payment of criminal monetary penalties:
                  Defendant shall pay any financial penalty that is imposed by this judgment that remains unpaid at the commencement of the
                  term of supervised release. Defendant's monthly payment schedule shall be an amount that is at least l0% of his net monthly
                  income, defined as income net ofreasonable expenses for basic necessities such as food, shelter, utilities, insurance, and
                  employment-related expenses.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. AII criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

A         Joint and Several

Case   Number                                         Total   Amount                      Several
                                                                                      Joint and                    Corresponding Payee,   if
Defendant and co-Defendant             Names                                          Amount                       Appropriate
(including defendant number)

15   CR 399 (1) Vince       Manglardi                 $14,614,302.97                  $14,614302.97
15   CR   399   (6)   Karen Ganser                    $1,540,755                      $1,540,755
15   CR   399   (5)   Nunzio Grieco                   $589,905                        5589,905
15   CR   399   (4)   David Belconis                  S190,485                        $190,485
15   CR   399   (2)   Theodore Wojtas                 $14,745,882.97                  514,745,882.97




**See above for Defendant and Co-Defendant Names and Case Numbers (including
                                                                             defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.**

tr        The defendant shall pay the cost ofprosecution.


tr        The defendant shall pay the following court cost(s):
          Case: 1:15-cr-00399 Document #: 476 Filed: 12/21/18 Page 11 of 11 PageID #:6228
ILND 2458 (Rev.03/2912018) Judgment in
                         a Criminal Case
Sheet6-ScheduleofPayments                                                           Judgrnent-Page ll ofll
DEFENDANT: VINCE MANGLARDI
CASE NUMBER: I :15-CR-00399(1)
tr     The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court cost
